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FOR THE MIDDLE DISTRICT OF PENNSYLVANIA JAN 15 2£;5
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UNITED STATES OF AMERICA 1 NO. 1116'CR'82 r`

 

D°P'-W Clerk ~'~

v. 1 (JUDGE YVETTE KANE)
SCOTT LANE 1 (ELECTRONICALLY FILED)
Defendant 1
FACTUAL BASIS

The defendant agrees that the following factual basis is true and
correct and that if this case had gone to trial, the United States could
have proven these facts beyond a reasonable doubt.

1. “Application A,”1 is designed for video conferencing on
multiple device formats. To use this application, a user doWnloads the

application to a computer, mobile phone or other mobile device (e.g.,

 

1 The actual name of “Application A” is known to law enforcement and
the defendant This application remains active and disclosure of the
name of the application Would potentially alert its users to the fact that
law enforcement action is being taken against users of the application,
thereby provoking users to notify other users of law enforcement action,
flee, and/or destroy evidence. Accordingly, to protect the confidentiality
and integrity of the ongoing investigation involved in this matter,
specific names and other identifying factors have been replaced With
generic terms and the application Will be identified herein as
“Application A.”

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tablet) via direct download from the company’s website. Once _
downloaded and installed, the user is prompted to create an account.
“Application A” users can invite others to an online meeting “room.” ln
each instance, both “Application A” and the targets are referring to the
10'digit number that specifically identifies an online location where
each user can see and interact with the other users in the same room.

2. When a user chooses to enter a specific meeting room, the
user enters the lO'digit number and enters the username that he wants
to use on that specific occasion, which does not have to be the same as
the account username. “Application A” does not require a certain
number of characters for a particular username. Consequently, a user
can create a name with a single special character, such as “#” or a single
letter, such as “a.”

3. During a meeting, users can show a live image or video of
themselves to other users through the webcam feature. Users may also
display the contents of their own computer desktops to the other users
in the room. The ability to display their own computer desktops allows

users to show videos and photos to other users in the room.

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“Application A” also allows users to send text messages visible to all of
the users in the room, or private messages that are similar to instant
messages sent between two users.

4. “Application A” permits users to conduct online video
conferences for free for a limited number of minutes. Paid subscribers
can conduct online video conferences for an unlimited amount of time.
Some “Application A” users with a paid account permit their rooms to
be accessed without a password such that anyone who knows the room
number can enter and leave the room at any time.

5. On July 22, 2015, Toronto law enforcement began
monitoring an “Application A” room that Toronto law enforcement
became aware of on July 10, 2015 as a room that showed child
pornography. The Toronto UC observed a German user streaming a
video from the “Tara” series, which depicts an adult male wearing a
mask while he vaginally and orally rapes the prepubescent girl. During
the stream of that video, Defendant William Augusta was logged into
the room. The Toronto UC successfully recorded the stream of that

video.

 

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6. At approximately 18137 EDT, Augusta (utilizing user name
“Guy Johnson”) posted “Pennsylvania with a . . . toy if you can visit.”
lmmediately thereafter, at 18138 EDT, the German user who had been
streaming the “Tara” series, began streaming a prerecorded video called
“boyl.mp4” that depicted Augusta orally raping a prepubescent black
child (hereafter Victim'l). The Toronto UC successfully recorded the
stream of that video. While the video was streaming, Augusta
commented, “mmmmmmmm now THlS is porn.” Additionally, during
the stream of that video, other users in the room commented on the
video. For example, Defendant Sewell, a.k.a. “SexEducation8'13”
commented, “rape the nigger baby!!!,” After the video completed,
Augusta posted, “if you liked that last hardcore vid that was recorded
live, me and my fucktoy lage redactedl yr old [Victim'l’s real first
namel.” Another user suggested to Augusta, “nice you should bring out
your fucktoy.”

7. The Toronto UC attempted to message Augusta via
“Application A,” but was unsuccessful. Between approximately 18150

and 19116 EDT, the Toronto UC was away from the computer and it
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was not recording, but the “Application A” room was still active and the
UC was logged into that room. Upon returning to the computer at
approximately 19117 EDT, the UC observed Augusta streaming the'live
sexual abuse of Victim'l. Specifically, Augusta orally raped Victim'l
and also digitally penetrated Victim'l’s anus. The live abuse stream
continued until approximately 19122 EDT when another user took over
the screensharing function in Application A, which made that user’s
screen the dominate screen, and Augusta’s screen was minimized for
everyone. A few seconds later, Augusta’s screen turned off. The Toronto
UC was able to record the activity from approximately 19117 EDT until
y the end of the stream.

8. On that same day, July 22, 2015, the Toronto UC contacted a
Homeland Security Special Agent located in Phoenix, Arizona and
advised that agent about the live'abuse activity just witnessed in
“Application A.” On that same day, July 22, 2015, the HSI agent served
a summons on Application A for lP logs associated with the room in
which Toronto UC had observed the live abuse. “Application A” quickly

responded and provided the lP address, which geolocated to the
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Carlisle, Pennsylvania area and was registered to Comcast
Communications. The HSI agent then served an “exigent
circumstances” request on Comcast, which verbally provided the
subscriber name, address and telephone number. Additional open'
source checks confirmed that the subscriber residence was a multi'
generational household that included a prepubescent child that
matched the description and depiction of the child who had been viewed
in “Application A.”

9. On July 23, 2015, a Pennsylvania state search warrant was
executed at the residence in Carlisle, PA. Victim'l was rescued and
subsequently confirmed that he had been repeatedly sexually abused by
Augusta. Augusta was arrested, but refused to make a statement
Subsequent review of chat logs revealed that Augusta has told other
like'minded pe dophiles that he has been sexually abusing Victim'l
since Victim'l was one'year'old.

10. The following is a relevant timeline of events that occurred
in the “Application A” room before and during the live transmission.

First, a user in Germany streamed a previously recorded video of

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Augusta sexually abusing Victim'l. During that stream, Defendants
Augusta, Sewell, and Fensler commented on it. A few minutes later,
Augusta brought Victim'l in front of the camera and proceeded to
sexually abuse him, including oral rape and digital penetration, for the
next 22 minutes. During the live'stream, other defendants, including
Defendant Scott Lane, and unindicted co'conspirators, commented on

the sexual abuse in a way that encouraged the abuse to continue.
Previouslv Recorded Video of Au§ist Abusing Victim'l

18138116 From SEXeducation8'13 1 rape the nigger baby!!!! (David
Sewell)

18138133 From YngCanPigPerv 1 sorry guys (Non'U.S. target)
18138135 From YngCanPigPerv 1 lol (Non'U.S. target)
18138138 From YngCanPigPerv 1 its on now (Non'U.S. target)
18138148 From dirtypervy 1 rape that lil nigger

18139139 From Guy Johnson 1 mmmmmmmmmmmmmm now THIS is
porn (Augusta)

18140129 From babyRaperSnuffer 1 nice vid (Matthew Fensler)

 

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18141152 From Guy Johnson 1 if you liked that last hardcore vid that
was recorded live, me and my fucktoy 6 yr old [Victim'l’s real
first namel (Augusta)

18142108 From SEXeducation8'13 1 hotf) (David Sewell)

18142115 From micheal 1 mmmmmmmmmmmmm

18142116 From SEXeducation8'13 1 you are my idol (David Sewell)

18142119 From babyRaperSnuffer 1 nice you should bring out your

fucktoy (l\/latthew Fensler)

18144124 From . 1 hey guys if the vid has sound please rember to MUTE

1 ur MIC (Bruce Edgecombe)

18144137 From perv 1 any lil puss vids? (Non'U.S. target)

18145121 From . 1 luv anything BALD b/g brutal or consentual (Bruce

Edgecombe)

18146118 From xxx to gl(privately) 1 hey man (Non'U.S. target)

18146137 From pervpred 1 nepi guys?

18146142 From d to gl(privately) 1 hot (Non'U.S. target)

18146151 From babyRaperSnuffer 1 luv nepi (l\/latthew Fensler)

18147108 From . 1 luvr it storment c (Bruce Edgecombe)

18148132 From . 1 as u all can see i like a littl pan with my PEDOS

(Bruce Edgecombe)

18148143 From h. loroc 1 any young teen vids? (Ed Westbury)

18148159 From SS Lorenz 1 Do (Non'U.S. target)

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18151124 From YngCanPigPerv 1 l think my cam is working now? (Non'

U.S. target)

18151125 From pervpred 1 nel else with wife or gf in the house

18152129 From nyc perv 1 31 nyc perv here (Scott Lane)

18152138 From Big Dawg 1 Georgia?

18154106 From Guy Johnson 1 srry back if u messaged me (Augusta)

18154149 From Guy Johnson 1 did u guys like that video? (Augusta)

18155117 From dirtypervy 1 love some good boi rapping

18155122 From . 1 GUy hot HOTTTTTTTTTTTTTT (Bruce Edgecombe)

18155159 From babyRaperSnuffer 1 fuck yea hot vid earlier (l\/latthew

Fensler)

18156103 From Sla,NPerv 1 london? (Non'U.S. target)

18156138 From . 1 us mid wwst (Bruce Edgecombe)

18158105 From nyc perv 1 nyc anyone? (Scott Lane)

18159123 From nyc perv 1 anyone showing vids? (Scott Lane)

18159136 From New 'Phone 1 or live? (Non'U.S. target)

18159144 From Daniel Sotherland 1 so appreciate if someone showed
vids- need to bust before work (Dylan Heatherly)

18159147 From nyc perv 1 i can do live tomorrow (Scott Lane)

18159156 From New 'Phone 1 with what? (Non'U.S. target)

19100115 From . 1 ask GUY if [Victim'll is home (Bruce Edgecombe)

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Live Event Begins Here

19100125

19101100
target)

19101105
Fensler)

19101106
19101125

19101141
target)

19101142
19102134
19102137
19102146

19103119
Marquez)

19109132

19109159

From New 'Phone 1 [Victim'1l is home (Non'U.S. target)

From New 'Phone 1 we all watching guy johnson (Non'U.S.

From babyRaperSnuffer 1 turn off the video wtf? (l\/latthew

From nyc perv 1 who is [Victim' 1]? (Scott Lane)
From New 'Phone 1 Stop screensharing (Non'U.S. target)

From New 'Phone 1 guy has his lrelativel [Victim'll (Non'U.S.

From h. loroc 1 keep it (Ed Westbury)

From dirtypervy 1 thanks man

From dirtypervy 1 made me shoot haha

From Daniel Sotherland 1 so close here (Dylan Heatherly)

From letsdothisnowtool 1 Look at that throbbing (l\/loises

From jay 1 spread his ass cheeks (Non'U.S. target)

From babyRaperSnuffer 1 you should smack him around a

couple of times (l\/[atthew Fensler)

19110120

191111()3

19111135

From nyc perv 1 let us hear the audio (Scott Lane)
From Andy 1 guy put the sound on (Non'U.S. target)

From nyc perv 1 make out with him (Scott Lane)
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19113110
1911311'7
19113127
19113146
19113156
19114108
19114158
19115144
19115153
19117158
19118151
19121112
19121149

19121154

From lovefurrymen 1 there's one perv here (Non~U.S. target)
From nyc perv 1 show more face (Scott Lane)

From lovefurrymen 1 guy Johnston (Non'U.S. target)

From lovefurrymen 1 no child here! (Non'U.S. target)

From SS Lorenz 1 Sado (Non'U.S. target)

From cumslut perv 1 cams on please (Casey O’Dell)

From Pp 1 Spit in his face (Non~U.S. target)

From nyc perv 1 fuck him (Scott Lane)

From Andy 1 guu he needs to be fucked (Non~U.S. target)
From Andy 1 rape him (Non'U.S. target)

From b b_lv 1 how old is the boy (Non'U.S. target)

From nyc perv 1 31 nyc perv here. fuck nephew. (Scott Lane)
From Irish pd 1 Age is nephew? (Non'U.S. target)

From Andy 1 guy some guys think this is a vid do something

to prove it's live (Non'U.S. target)

'19121158

1912215()

From Andy 1 smack him (Non'U.S. target)

From . 1 [Victim'll has his shirt on again (Bruce Edgecombe)

Live Event Ends Here

19123147

19124128

From Andy 1 get him to say hi andy (Non'U.S. target)

From nyc perv 1 lets see some fucking (Scott Lane)
1 1

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19125152 From Dad Bear 1 hi guys
19127115 From nyc perv 1 anyone have vids? (Scott Lane)
19127144 From FlyingPerv 1 cunts? (Non'U.S. target)

19127150 From gl to Guy Johnson (privately) 1 Was that a vid or live?
(Toronto UC)

19127151 From FlyingPerv 1 u like? (Non'U.S. target)
19128115 From nyc perv 1 oh yeah (Scott Lane)
19129112 From YngCanPigPerv 1 SMOKE TIME? (Non'U.S. target)

11. On April 12, 2016, Homeland Security lnvestigations agents
interviewed Lane at his residence in New York, New York. During that
interview, the agents asked Lane about seeing the abuse of Victim'1 on
“Application A.” ln response, Lane told the agents interviewing him,
“hypothetically, if l told you what l saw l don't feel comfortable
discussing it. l don’t know the law.” When the agents asked Lane if he
did not care about the little boy in the video, Lane stated “that's not
true, l can't help you. l’m being selfish and l don’t know the law.” Lane
now admits that he did see Victim'1 being sexually abused on July 22,

2015.

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12. ln fact, Lane was connected to the “Application A” room from
approximately 18152109 to 19145106 EDT on July 22, 2015, for a total of
about 53 minutes.

13. Lane admits that from approximately 19100 EDT to 19122
EDT was a live transmission of the sexual abuse of Victim'l by
Augusta, and that it was not a prerecorded video.

14. On July 22, 2015, and on other occasions, Defendant Lane
utilized the alias “NYC Perv.” Defendant Lane agrees that the
comments and requests by him to the entire room (e.g., “make out with
him,” “fuck him,” “show more face”) served to encourage Defendant
Augusta to sexually abuse Victim'l live on video camera for all
participants to see. Additionally, Defendant Lane sent private messages
to co'Defendant Augusta during the live event that further encouraged
the sexual abuse, such as “get him naked,” “you fuck him?”, and “hot
man”. Furthermore, Defendant Lane admits that others in the room
expressly requested that additional videos of child pornography be
streamed to the entire room, and that his participation in that room

was evidence of an agreement to collectively seek child pornography in
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live or recorded form such that the requests by others amounted to a
notice and advertisement

15. lndeed, the forensic analysis of his electronic devices
revealed that Defendant Lane frequented multiple “Application A”
rooms, many of which he knew streamed child pornography
Additionally, the forensic analysis of his electronic devices revealed that
Lane possessed and accessed multiple videos of prepubescent child
pornography For example, the file titles on his electronic devices
included “Gyo enjoy dads cock.avi,” “Andy 4yo anal.avi” and “Toddler
Rape.avi.” Similarly, some of the photographs included an infant crying
with an adult male penis against the infant’s face. Another video
depicts a toddler with semen on her face while she continues to
masturbate an adult penis that is inches from her face. Yet another
photograph depicts an adult penis sodomizing a child under 2 years old.

16. Count Nine1 With regard to Count Nine, Lane admits that
this count is supported by the facts in Paragraphs 1'15, incorporated
herein. Additionally, Lane admits that he and the other defendants

listed in Count Nine assisted co'Defendant Augusta in the production of

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sexually explicit images of Victim'1 on July 22, 2015 on “Application A”
simply because they individually and collectively encouraged Augusta
to bring Victim~ 1 in view of the web camera so that the others located
all over the United States (and world) could see Augusta sexually abuse
Victim'l live.

17. Count Ten1 With regard to Count Ten, Lane admits that this
count is supported by the facts in Paragraphs 1'15, incorporated herein.
Additionally, Lane admits that he entered an agreement with the co'
defendants listed in Count Ten by frequenting the same rooms on
Application A where it was known that people interested in viewing
images and live transmissions of the sexual abuse of children would
congregate.

18. Count Eleven1 With regard to Count Eleven, Lane admits
that this count is supported by the facts in Paragraphs 1'15,
incorporated herein. Additionally, Lane admits that during the
timeframe of the conspiracy (April 11, 2014 to l\/[ay 11, 2016), Lane and
the other co'defendants agreed to receive and distribute sexually

explicit images of children via “Application A” by frequenting the same

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rooms, and expressly requesting that someone play videos or show
photos of child pornography

19. Count Twelve1 With regard to Count Twelve, Lane admits
that this count is supported by the facts in Paragraphs 1'15,
incorporated herein. Lane and the other defendants assisted each other
by congregating in an “Application A” room with their cams on in an
effort to create what appeared to be a trusted environment to receive
and distribute child pornography

20. Count Thirteen1 With regard to Count Thirteen, Lane admits
that this count is supported by the facts in Paragraphs 1'15,
incorporated herein. Lane and the other defendants effectively entered
an agreement to publish a notice and advertisement in the form of
individual requests sent to the entire “Application A” room, which
requests sought specific types of child pornography images. For
example, on July 22, 2015, co'Defendant l\/larquez posted1 “anyone have
hot bby vids‘?,” meaning he was asking for someone to show Videos of
child pornography involving infants. Likewise, co'defendant Westbury

asked, “any young teen vids?,” meaning he was asking for someone to

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show videos of child pornography involving young teenagers, typically
13'14 years old. Similarly, co'defendant Sewell, on July 22, 2015, asked,
“any hardcore little boy vids” and “hardcore little boy rape vids?,”
meaning he was requesting that someone in the room stream a video of
child pornography involving prepubescent boys being forcibly sexually
abused, typically in a violent form of some kind. Similarly, Lane
commented, prior to the live event, “anyone showing vids?” ln addition
to all of Lane’s comments during the live event, he made additional
comments and requests after the live event, such as “lets see some

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fucking, 31 nyc perv. Fuck nephew,” and, again, “anyone have vids?”.
21. Count Fourteen1 With regard to Count Fourteen, Lane
admits that this count is supported by the facts in Paragraphs 1'15,
incorporated herein. Lane acknowledges that he personally published a
notice and advertisement in the form of individual requests sent to the
entire “Application A” room, which requests sought child pornography
images. For example, on July 22, 2015, when Lane asked the room

“anyone showing vids?” and “lets see some fucking,” that Lane Was not

merely making a request for videos of adults engaged in consensual
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sexual activity, but instead he was in that room on that occasion asking
for someone else in the room to stream videos of children engaged in
sexually explicit activity

lndeed, in the forensic analysis of Lane’s electronic devices, Lane
had multiple chats with individuals about his desire to see adults
engaged in sexual activity with children. F or example, on October 6,
2014, Lane sent a message to another user on a chat messaging
application that said, “go in your boy’s room. Let’s jerk off there.” Later,
in the same conversation, Lane told the user, “I’ve def got porn l can
share and money to pay you/fly you out here to fuck me and nephew.” In
fact, on September 14, 2014, in another chat conversation, Lane was
asked if he had ever “fucked a b,” and Lane said yes, and that the boy
was 9 years old. On yet another occasion, Lane messaged an individual,

“is it uber bad if l saw l wanna see you pound a 15 yo‘?”.

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ACKNOWLEDGMENTS

l have read this agreement and carefully reviewed every part of it
with my attorney l fully understand i and l voluntarily agree to it

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Date scle>rT‘LAN
Defendant

 

 

 

l am the defendant’s counsel. l have carefully reviewed every part
of this agreement with the defendant To my knowledge my client’s
decision to enter into this agreement is an informed and voluntary one.

/;///M &'”

Date GERALD LORD
Counsel for Defendant

 

DAVID J. FREED
UNITED STATES ATTORNEY

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Date MEREDITH A@AY'EOR
AssisTANT U.s. ATToRNEY

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